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                        UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                                 AMARILLO DIVISION
__________________________________________
                                            )
RONNY L. JACKSON, et al.                    )
                                            )
                           Plaintiffs       )
      v.                                    )    No. 2:22-cv-241
                                            )
JOSEPH R. BIDEN, JR et al.                  )
                                            )
                           Defendants.      )
__________________________________________)

      [PROPOSED] ORDER GRANTING UNOPPOSED MOTION FOR EXTENSION OF TIME

      Upon consideration of Defendants’ Unopposed Motion for Extension of Time, it is

HEREBY ORDERED that the Motion is GRANTED and Defendants’ deadline to reply to Plaintiffs’

opposition is EXTENDED by 7 days to June 27, 2023.



SO ORDERED, this [ ] day of June, 2023.

                                                       ________________________
                                                       Matthew J. Kacsmaryk
                                                       United States District Court Judge
